Case 1:17-cv-11008-MLW Document 38-3 Filed 08/25/17 Page 1 of 3




          EXHIBIT 33
8/24/2017              JOHNSON
                      Case     & JOHNSON COMPLETES Document
                           1:17-cv-11008-MLW       ACQUISITION OF MICRUS
                                                               38-3      ENDOVASCULAR
                                                                      Filed 08/25/17 | DePuy
                                                                                        PageSynthes
                                                                                              2 of Companies
                                                                                                    3




      About DePuy Synthes Companies
      News and Press
      Home > About DePuy Synthes > News and Press > ...




       Search News &
                                                  JOHNSON & JOHNSON
       Press Archives                             COMPLETES ACQUISITION OF
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                                                  Published Sep 27, 2010
       Company:                                   Media Contacts                                         Investor Relations
         All Companies
                                                  Johnson & Johnson                                       Johnson & Johnson
       Year:                                      Bill Price                                             Louise Mehrotra
                                                  732.524.6623                                            732.524.6491
         All Years
                                                  Codman & Shurtleff, Inc.                                 Johnson & Johnson
                                 Go               Kelly Leadem                                            Tina Pinto
                                                  508.828.3064                                            732.524.2034


                                                  Johnson & Johnson Completes Acquisition of Micrus Endovascular
       Media Contacts
                                                  Micrus Becomes Part of Codman Neurovascular
       Find media contact information
                                                  New Brunswick, NJ (September 27, 2010) – Johnson & Johnson (NYSE: JNJ)
       for DePuy Synthes and our
                                                  today announced that it has completed the acquisition of Micrus Endovascular, a
       companies.                                 global developer and manufacturer of minimally invasive devices for hemorrhagic
       Get media contacts                         and ischemic stroke. Johnson & Johnson announced its agreement to acquire
                                                  Micrus on July 12, 2010.

                                                  Micrus Endovascular will operate under Codman Neurovascular, a business unit
                                                  of Codman & Shurtleff, Inc., the global neurosurgery device company of the
                                                  DePuy Family of Companies within Johnson & Johnson. Codman Neurovascular
                                                  and Micrus offer innovative and complementary products and technologies for
                                                  treating cerebral aneurysms, which can lead to stroke, the third leading cause of
                                                  death in the United States, behind heart disease and cancer.
                                                  [1]

                                                  The Codman Neurovascular portfolio includes bare platinum coils, vascular
                                                  reconstruction devices (VRDs) and access devices, and the Micrus portfolio
                                                  includes enhanced bioactive coil devices, balloon catheters, delivery systems and
                                                  stents for the treatment of intracranial stenosis.

                                                  "Codman and Micrus are coming together to create one of the broadest portfolios
                                                  and one of the deepest pipelines in the neurovascular industry," said P. Laxmin
                                                  Laxminarain, Worldwide President, Codman & Shurtleff. "There are significant
                                                  unmet needs in the treatment of neurovascular disease, and our hope is that by
                                                  bringing these companies together, we can fuel rapid and meaningful innovation
                                                  that further improves patient care, outcomes and access to treatment."
https://www.depuysynthes.com/about/news-press/qs/johnson--johnson-completes-acquisition-of-micrus-endovascular---depuy                1/2
8/24/2017                JOHNSON
                        Case     & JOHNSON COMPLETES Document
                             1:17-cv-11008-MLW       ACQUISITION OF MICRUS
                                                                 38-3      ENDOVASCULAR
                                                                        Filed 08/25/17 | DePuy
                                                                                          PageSynthes
                                                                                                3 of Companies
                                                                                                      3

                                                       Codman Neurovascular and Micrus Endovascular will work together to provide a
                                                       strong suite of solutions for hemorrhagic stroke, with many promising products in
                                                       development for ischemic stroke. The World Health Organization (WHO) calls
                                                       neurological disorders, which affect about 1.7 billion people, one of the greatest
                                                       threats to public health. Each year, approximately 800,000 people in the U.S.
                                                       experience a stroke.
                                                       [2]

                                                       About Codman & Shurtleff, Inc.
                                                       Codman & Shurtleff is a global neuroscience and neurovascular company that
                                                       develops and markets a wide range of products and solutions for the diagnosis
                                                       and treatment of neurological disorders including chronic pain management, adult
                                                       and pediatric hydrocephalus, neuro critical care, aneurysm and stroke prevention
                                                       and management. Codman & Shurtleff is part of the DePuy Family of Companies
                                                       within Johnson & Johnson. The DePuy Family of Companies has a rich heritage
                                                       of pioneering a broad range of products and solutions across the continuum of
                                                       orthopaedic and neurological care. These companies are unified under one vision
                                                       – Never Stop Moving™ – to express their commitment to bring meaningful
                                                       innovation, shared knowledge and quality care to patients throughout the
                                                       world. Visit www.depuy.com and www.micrusendovascular.com for more
                                                       information.

                                                       (This press release contains "forward-looking statements" as defined in the
                                                       Private Securities Litigation Reform Act of 1995. These statements are based on
                                                       current expectations of future events. If underlying assumptions prove inaccurate
                                                       or unknown risks or uncertainties materialize, actual results could vary materially
                                                       from Johnson & Johnson's expectations and projections. Risks and uncertainties
                                                       include general industry conditions and competition; economic conditions, such as
                                                       interest rate and currency exchange rate fluctuations; technological advances and
                                                       patents attained by competitors; challenges inherent in new product development,
                                                       including obtaining regulatory approvals; domestic and foreign health care reforms
                                                       and governmental laws and regulations; and trends toward health care cost
                                                       containment. A further list and description of these risks, uncertainties and other
                                                       factors can be found in Exhibit 99 of Johnson & Johnson’s Annual Report on Form
                                                       10-K for the fiscal year ended January 3, 2010. Copies of this Form 10-K, as well
                                                       as subsequent filings, are available online at www.sec.gov , www.jnj.com or on
                                                       request from Johnson & Johnson. Johnson & Johnson does not undertake to
                                                       update any forward-looking statements as a result of new information or future
                                                       events or developments.)



                                                       [1]
                                                       http://www.strokeassociation.org/STROKEORG/AboutStroke/About-
                                                       Stroke_UCM_308529_SubHomePage.jsp
                                                       [2]
                                                       National Stroke Association, “Stroke 101”, 2010.
                                                       << Go Back




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